     Case 8:19-cr-00061-JVS Document 643 Filed 08/04/21 Page 1 of 4 Page ID #:12597



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     UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S FILING REGARDING THE
18                                             FILIPPO MARCHINO SPREADSHEET;
                      v.                       EXHIBIT 1
19
     MICHAEL JOHN AVENATTI,
20
                Defendant.
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     Case 8:19-cr-00061-JVS Document 643 Filed 08/04/21 Page 2 of 4 Page ID #:12598



 1         Plaintiff United States of America, by and through its counsel

 2   of record, the Acting United States Attorney for the Central District

 3   of California and Assistant United States Attorneys Brett A. Sagel

 4   and Alexander C.K. Wyman, hereby files its Notice Regarding the

 5   Filippo Marchino Spreadsheet referenced as Exhibit 4 in the

 6   September 4, 2019, Filippo Marchino Memorandum of Interview (“MOI”).

 7   On November 25, 2019, the government produced to defendant

 8   approximately 434 pages of documents, bates number USAO_00183391

 9   through USAO_00183825, which Filippo Marchino produced to the

10   government.     The government produced these documents, as it has

11   throughout this case, with a detailed discovery production index,

12   which specifically lists these documents as the Filippo Marchino

13   Production.     During the lunch break of trial today, over two hours

14   into defendant’s cross of Mr. Marchino (and about a month after the

15   government disclosed him as a witness and over a year and a half

16   after the production of the MOI), defendant raised for the first time

17   that he did not have Exhibit 4 to the September 4, 2019, Marchino

18   MOI, which is referred to as the “X-Law Financial Transactions” in

19   the MOI.    Defendant claimed he spent hours searching for the document

20   that he claimed the government did not produce, which would be a

21   Brady, Giglio, and/or Jencks violation.           The government specifically

22   told defendant it would be in the Filippo Marchino Production, which

23   defendant would be able to find through the detailed index the

24   government produces to defendant with each production.            After court,

25   the government provided the spreadsheet and the bates-number

26   (USAO_00183391) to defendant, which is the first page of the Filippo

27   Marchino production (with production number FM_00001) and is titled:

28   “X-law/EA Financial Transactions.”           As the government represented in

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     Case 8:19-cr-00061-JVS Document 643 Filed 08/04/21 Page 3 of 4 Page ID #:12599



 1   Court, defendant has the document -- and has had it since November

 2   2019.

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 4    Dated: August 4, 2021                Respectfully submitted,

 5                                         TRACY L. WILKISON
                                           Acting United States Attorney
 6
                                           SCOTT M. GARRINGER
 7                                         Assistant United States Attorney
                                           Chief, Criminal Division
 8

 9                                               /s/
                                           BRETT A. SAGEL
10                                         ALEXANDER C.K. WYMAN
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11
                                           Attorneys for Plaintiff
12                                         UNITED STATES OF AMERICA
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Case 8:19-cr-00061-JVS Document 643 Filed 08/04/21 Page 4 of 4 Page ID #:12600
